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                       UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    Thomas Dexter Jakes                             Civil Action No. 2:24-CV-1608-WSS
                           Plaintiff

    ~against~                                              Sworn Affidavit of Duane
                                                                Youngblood
    Duane Youngblood, et al.

                           Defendant

       I, Duane Youngblood, being duly sworn, depose and state under the penalty of perjury as
follows:
   1. I am the Defendant in the above-captioned case and submit this affidavit in further support
       of my anti-SLAPP motion.
   2. When I was nine years old, my life took a dark turn as I began to experience sexual abuse.
       I shared these painful experiences publicly during an interview on October 28, 2024, on
       “Larry Reid Live,” titled “The Abused Became the Abuser.” Over the course of this two-
       hour interview, I revealed personal truths that I have carried for decades, recounting my
       journey of trauma and healing.
   3. I began the interview by dedicating nearly an hour to discussing my own history of abusing
       others, including my arrests, convictions, and time in prison for my actions. I did so with
       the intent to take accountability and to demonstrate my commitment to transparency in
       telling my story.
   4. As a child, I lived in a household where my own father abused my sister. This abuse
       continued for over five years, from the time I was nine until I was around fourteen. Growing
       up in this environment was deeply confusing and traumatic.
   5. At the age of twelve, I entered a singing competition and won. That summer, while
       traveling with Christine McCaskill, I was sexually abused on three separate occasions.
       These incidents compounded the trauma I was already enduring.
   6. At sixteen, I encountered further abuse. Our church’s head bishop, Quander Wilson, invited
       me to his home in Columbus, Ohio, after preaching at our church in Homestead,
       Pennsylvania. He showed me to a room at the end of the hall with a large bed and a big
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   TV. Later that night, he came into the room, undressed, and got into bed. I was shocked
   and frightened. When I stirred, he pretended to be praying for me, but his actions had
   already crossed clear boundaries.
7. As I grew older, I crossed paths with other prominent church figures. I met Bishop T.D.
   Jakes during one of his visits to Pittsburgh. After a dinner celebrating his birthday, I drove
   him back to his lodging. Once there, he invited me in, and we talked for over an hour. It
   was a deep, emotional conversation that brought me to tears. As I prepared to leave, he
   pulled me close and tried to kiss me. The next morning, he called my family’s home, spoke
   to my mother, and then told me he wanted me to be the only person he had a sexual
   relationship with when he came to town. He also made it clear that I wasn’t to be involved
   with anyone else and promised to take care of me for life. I did not agree to this.
8. I also spoke about Bishop Sherman Watkins, the leader of the organization my church
   belonged to. In 2005, I left the organization, but before that, I accompanied Bishop Watkins
   on a trip to Miami. One evening, when the hotel’s massage service was unavailable, he
   offered to give me a massage. Reluctantly, I agreed. During the massage, he crossed clear
   boundaries, touching me inappropriately. The next day, our interactions felt strained, but I
   chose to confront him about his actions later and ultimately left the organization.
9. Over the years, I have worked tirelessly to process and heal from these painful experiences.
   I have shared my story with family and close friends, sought therapy, and found solace in
   resources like “It Didn’t Start With You” by Mark Wolynn. This book helped me
   understand how unresolved patterns contributed to my own struggles. Through reflection
   and reconciliation, I have worked to heal and break the cycle of harm.
10. Sharing my story publicly was not easy. Each individual I spoke about in the interview is
   a respected church leader, but I felt compelled to expose how abuse can remain hidden
   within church systems. The interview gave me the platform to speak honestly, and since
   its airing, others have reached out to share how my story has empowered them to confront
   their own experiences of abuse.
11. While I understand that Bishop Jakes has focused on the portion of the interview that
   involved him, it was just a small part of a much larger narrative. My intention was never
   to target him or anyone else with malice. My purpose was to shed light on the trauma and




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